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 3
                             IN THE UNITED STATES DISTRICT COURT
 4
                                 EASTERN DISTRICT OF CALIFORNIA
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 6   UNITED STATES OF AMERICA,                  CASE NO.   2:15-CR-00125-GEB

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     Plaintiff,                                 ORDER SEALING DOCUMENTS REQUESTED TO
 8                                              BE SEALED IN GOVERNMENT’S NOTICE
                                                FILED ON OCTOBER 24, 2018
 9   v.

10   BENJAMIN MACIAS,

11
     Defendant.
12

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14         The United States requests the documents in ECF numbers 169 and

15 173 be sealed until further order of this Court.               Defendant filed ECF

16 169 and the United States responded to that filing in ECF 173.               It is

17 unfortunate that Defendant filed on the public docket in ECF 169

18 information that he must have known should have been filed under

19 seal.      It is also clear that a redacted version of ECF 169 should

20 have been filed on the public docket.            Further, the United States

21 includes in ECF 173 information that should have been filed under

22 seal.      In camera review procedures should be used when redacted and

23 unredacted documents should be filed.            ECF numbers 169 and 173 shall

24 be filed under seal, with the understanding that a party and/or the

25 parties will follow applicable sealing procedures concerning redacted

26 and unredacted filings as soon as practicable.             In addition, as the

27 government requests in its submitted proposed sealing order, “[i]t is

28 further ordered that access to the sealed documents shall be limited


      ORDER SEALING DOCUMENTS AS SET FORTH IN   1
30    GOVERNMENT’S NOTICE
         Case 2:15-cr-00125-DJC-CKD Document 186 Filed 11/01/18 Page 2 of 2

 1 to the government and counsel and the other parties to this matter.”

 2        Dated:      October 31, 2018

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     ORDER SEALING DOCUMENTS AS SET FORTH IN   2
30   GOVERNMENT’S NOTICE
